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   October 20, 2020

   VIA ECF

   Hon. Valerie E. Caproni
   United States District Judge
   United States District Court for the Southern District of New York
   40 Foley Square, Courtroom 443
   New York, NY 10007

   Re:    Range, Jr. v. BLDG 03 LLC et al.,
          Case No.: 1:19-cv-05276-VEC (S.D.N.Y.)

   Dear Judge Caproni:

          This Firm represents Defendants BLDG 03 LLC (“BLDG”) and 475 Soho, LLC
   (“475 Soho”) (collectively with BLDG, “Defendants”) in the above-referenced matter. We
   write, with the consent of Plaintiff King Range, Jr. (“Plaintiff”), to respectfully request a
   second extension of the parties’ deadline to file a status report, from October 22, 2020 to
   October 27, 2020 (5 calendar and 3 business days).

          By way of background, on October 10, 2020, Seyfarth Shaw LLP was the victim of
   a sophisticated and aggressive malware attack, as detailed in our prior correspondence
   to the Court dated October 13, 2020. (ECF No. 44.) In that letter, Defendants requested
   a one (1) week extension of the parties’ deadline to file a status report, from October 15,
   2020 to October 22, 2020, due to the disruption caused by the malware attack, which
   included limiting access to the Firm’s email and document management systems. The
   Court granted this application that same day. (ECF No. 45.)

          Given this disruption, and to provide sufficient time for Defendants to provide the
   necessary reporting, Defendants respectfully request an extension of five (5) additional
   calendar days (3 business days) to submit the status report. This additional time is
   required for the undersigned to assess construction-related developments at the subject
   property, and prepare an informative report on the project. We have conferred with
   counsel for Plaintiff and Plaintiff consents to this request.

          Defendants submit this request in good faith and not to cause undue delay. The
   granting of this extension will not impact any other scheduled deadlines. We do not
   anticipated requesting a further extension of this deadline absent an emergency. We
   thank the Court for its time and attention to this matter.
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Respectfully submitted,

SEYFARTH SHAW LLP


/s/ John W. Egan


John W. Egan


cc:   All counsel of record (via ECF)           Application GRANTED. The status report is
                                                due not later than October 27, 2020. No
                                                additional extensions will be granted.

                                                SO ORDERED.


                                                                          10/20/2020
                                                HON. VALERIE CAPRONI
                                                UNITED STATES DISTRICT JUDGE
